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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

STAN BETTER, et al.,                           )
                                               )
                                               )
                       Plaintiffs,             )
                                               )
vs.                                            ) Civil Action No. 11-CV-2072 KHV/JPO
                                               )
YRC WORLDWIDE INC., et al.,                    )
                                               )
                       Defendants.             )
                                               )
                                               )
                                               )


                                     NOTICE OF RESOLUTION

         Pursuant to D. Kan. Rule 40.3(a), Plaintiffs and Defendants hereby notify the Court that

the parties have reached an agreement that resolves the litigation as to all parties. Following the

entry by the Tenth Circuit, on April 29, 2016, of the Order denying Plaintiffs’ Petition for

Permission to Appeal, counsel began discussing the terms under which Plaintiffs would dismiss

the action. The parties reached agreement on May 10, 2016. Defendants have requested that the

agreement be reflected in an Agreement for Dismissal of Action (the “Agreement”) to be signed

by the claimants and the Defendants. Counsel have circulated the Agreement to each of their

clients. Counsel for Plaintiffs are in the process of gathering signatures from each individual

claimant, will continue with their good-faith efforts to obtain execution, but have actual authority

to sign on behalf of each claimant. Upon execution by or on behalf all parties to the Agreement,

counsel will file, under Fed. R. Civ. P. 41(a)(1)(A)(ii), a Stipulation of Dismissal with Prejudice

(“Stipulation”). The Agreement provides that each party shall bear his, her, or its own fees,

including attorneys’ and experts’ fees, costs, and expenses, and the Stipulation so states. The




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Agreement includes mutual releases. No monetary consideration will be exchanged between the

parties or their counsel.

Dated: May 10, 2016                       Respectfully submitted,


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                                           Counsel for Defendants

                                  CERTIFICATE OF SERVICE

       The undersigned certifies that on May 10, 2016 the foregoing document was filed with
the Court’s CM/ECF System, which sent notice to all parties receiving electronic notices.



                                           s/ Kristin L. Farnen
                                           Attorney for Defendants




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